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       Attorneys for Defendants
  10   The Control Group, Media Company, LLC, Instant
       Checkmate, LLC, and TruthFinder, LLC
  11

  12                        UNITED STATES DISTRICT COURT
  13                     SOUTHERN DISTRICT OF CALIFORNIA
  14

  15   Christopher Bentley, Nicholas Longo,             CASE NO. 19-cv-2437 DMS RBB
       Hendry Idar III, Vincent Hardy, Jesus
  16   Sanchez, and Taryn Mitchell, on behalf of
       themselves and of others similarly situated,     DECLARATION OF DAMON
  17                                                    W.D. WRIGHT IN SUPPORT OF
                                 Plaintiffs,            DEFENDANTS’ MOTION TO
  18                                                    COMPEL ARBITRATION
                            v.
  19
       The Control Group Media Company, Inc.,
  20   Instant Checkmate, LLC, TruthFinders,
       LLC
  21
                                 Defendant.
  22

  23                    DECLARATION OF DAMON W.D. WRIGHT
  24         I, Damon W.D. Wright, declare as follows:
  25         1.     I am an attorney at law licensed to practice before all courts of the
  26   State of Virginia and the District of Columbia, and am a partner in the law firm of
  27   Gordon Rees Scully Mansukhani, LLP, counsel of record for Defendants The
  28   Control Group Media Company LLC; Instant Checkmate, LLC; and TruthFinder,
                                                 1
                                                DECLARATION OF DAMON W.D. WRIGHT
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   1   LLC (collectively “Defendants”). I have personal knowledge of the matters

   2   contained in this declaration and if called to testify to them could and would do so

   3   competently. I make this declaration in support of Defendants’ motion to compel

   4   arbitration.

   5         2.       Attached hereto as Exhibit 1 is a true and correct copy of the

   6   Complaint filed by Plaintiffs Tyanna Walker, et al. against Defendants, in the

   7   action styled Walker, et al. v. The Control Group Media Company, Inc., et al.,

   8   Case No. 19-cv-0347-LAB-JLB (“Walker”) in the United States District Court for

   9   the Southern District of California on February 20, 2019.

  10         3.       Attached hereto as Exhibit 2 is a true and correct copy of the Joint

  11   Motion to Dismiss the Walker action, and filed in that case on September 17, 2019

  12   at ECF No. 24.

  13         4.       Attached hereto as Exhibit 3 is a true and correct copy of the Order

  14   Granting the Joint Motion to Dismiss the Walker action, and issued and signed by

  15   the Honorable Larry A. Burns in that case on September 30, 2019 at ECF No. 25.

  16         5.       Attached hereto as Exhibit 4 is a true and correct copy of the

  17   arbitration demand and arbitration initiating documents filed with the American

  18   Arbitration Association (“AAA”) by Plaintiffs/Claimants Tyanna Walker, et al.

  19   against Defendants/Respondents The Control Group Media Company LLC;

  20   Instant Checkmate, LLC; and TruthFinder, LLC.

  21         6.       Attached hereto as Exhibit 5 is a true and correct copy of

  22   correspondence between the American Arbitration Association and counsel

  23   regarding the ensuing arbitration initiated by the plaintiffs in the Walker action

  24   following its dismissal.

  25         7.       On its website, E-Legal, Inc. d/b/a Easy Expunctions advertises that:

  26   “We’ll have your record scrubbed from the databases of dozens of nationally

  27   accredited background check and mugshot companies.” A true and correct

  28   printout of Easy Expunctions’ website (located at

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                                                DECLARATION OF DAMON W.D. WRIGHT
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   1   https://www.easyexpunctions.com/) (last visited March 10, 2020) is attached

   2   hereto as Exhibit 6, with the cited portion of the website printout bracketed in red

   3   for the Court’s reference.

   4         I declare under penalty of perjury under the laws of the United States of

   5   America that the foregoing is true and correct to the best of my knowledge.

   6   Executed this 11th day of March, 2020 at Alexandria, Virginia.

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                                                        Dam ,r-

   8                                                __________________________
                                                         Damon W.D. Wright
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                                              DECLARATION OF DAMON W.D. WRIGHT
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